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                                                                      USDC SDNY
                                                                      DOCUMENT
                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 10/16/2020
----------------------------------------------------------------- X
                                                                  :
PASCAL CHARPENTIER, EDUOARD JOSEPH :
CHARPENTIER, and MARLENE DEETJEN                                  :
SMITH,                                                            :     1:20-cv-07510-GHW
                                                                  :
                                                  Plaintiffs, :              ORDER
                                                                  :
                              -v -                                :
                                                                  :
DEPARTMENT OF HOMELAND SECURITY, :
DEPARTMENT OF STATE, IMMIGRATION :
AND CUSTOMS ENFORCEMENT, UNITED :
STATES CITIZENSHIP AND IMMIGRATION :
SERVICES, NATIONAL ARCHIVES AND                                   :
RECORDS ADMINISTRATION, and                                       :
NATIONAL PERSONNEL RECORDS                                        :
CENTER,                                                           :
                                                                  :
                                               Defendants. :
                                                                  :
----------------------------------------------------------------- X
GREGORY H. WOODS, United States District Judge:

         To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

         If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, within two weeks of the date of this order file on ECF a fully executed Notice, Consent,

and Reference of a Civil Action to a Magistrate Judge form, a copy of which is attached to this order

(and also available at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). The

executed form should be filed on ECF as a “Proposed Order,” and be described using the “Consent

Order” filing event in accordance with ECF Rule 13.18. If the Court approves that form, all further

proceedings will then be conducted before the assigned Magistrate Judge rather than before me.
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Any appeal would be taken directly to the United States Court of Appeals for the Second Circuit, as

it would be if the consent form were not signed and so ordered.

       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks of the date of this order

advising the Court that the parties do not consent, but without disclosing the identity of the

party or parties who do not consent. The parties are free to withhold consent without negative

consequences.

        SO ORDERED.

Dated: October 16, 2020
New York, New York                                     __________________________________
                                                               GREGORY H. WOODS
                                                              United States District Judge




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